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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

             vs.

HENRY DAVID BROOKS,

Defendant.                                               No. 12-cr-30242-DRH-10



                 ORDER FOR FORFEITURE PURSUANT TO
        FED.R.CRIM.P 32.2 WITH RESPECT TO HENRY DAVID BROOKS

      In the Indictment filed in the above cause on August 22, 2012, the United States

sought forfeiture of property of Defendant, Henry David Brooks, pursuant to 21

U.S.C. ' 853. The Court, upon consideration of the guilty plea received in this matter

and the provisions of the plea agreement, hereby finds by a preponderance of evidence

that the following property is forfeitable and hereby orders forfeited the following

property:

      Fifty-seven thousand one hundred and twenty dollars ($57,120.00) in
      United States funds.

      A forfeiture judgment is entered in favor of the United States and against

defendant Henry David Brooks in the amount of $57,120.00. This judgment may be

enforced as an ordinary monetary judgment, by the forfeiture of substitute assets, or

by a combination of both, as long as double recovery is not obtained by the

government. In that the amount of this judgment consists of funds represented by

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cocaine attributable to this defendant and not from all of the cocaine distributed in the

entire conspiracy, the forfeiture proceeds collected from other co-defendants towards

their own forfeiture judgments shall not constitute a credit in favor of Henry David

Brooks towards his judgment.

      In that the forfeiture consists of a money judgment, it is not necessary for the

United States to publish or provide notice or for the Court to conduct an ancillary

hearing.

      This judgment shall become final against the defendant as of the time of his

sentencing.
                                                                       Digitally signed by
      IT IS SO ORDERED.                                                David R. Herndon
                                                                       Date: 2013.02.19
      Signed this 19th day of February, 2013.
                                                                       12:46:01 -06'00'
                                                     Chief Judge
                                                     United States District Court




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